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AO 442 (Rev. 11/11) Arrest Warrant = _
Sea stRICo a United States District Court
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) Western District of New York
JUL 9,9 2020 a 2020 JUN -3 AM 1S
ies ayers! sIXG5 ted States of America
WESTERN DIST® y.
PAUL E. LUBIENECKI Case No. 20-CR-
Defendant 2 Q C R 7 7 7
ARREST WARRANT
To: | Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
delay (name of person to be arrested) PAUL E. LUBIENECKI, who is accused of an offense or violation based on the
following document filed with the Court:

Indictment CJ) Superseding Indictment O Information OO Superseding Information OO Complaint
C1 Probation Violation Petition J Supervised Release Violation Petition 1 Violation Notice OJ Order of the Court
This offense is briefly described as follows:

Violation of Title 18, United States Code, Section 2261A(2).

Jun Yo 0 nent

Issuing officer's signature

Date:

 

 

City and State: Buffalo, New York MARY C. LOEWENGUTH
CLERK OF THE COURT _

Printed name and Title

 

 

Return

 

 

This warrant was received on (date) \O| 5| 202.0 , and the person was arrested on (date) \

at (city and state) B v4 alo ue
| en . Nae OL

HELIO Arrestnly 0 icen’s signature

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